Case 1:22-cv-10016-LAK Document 179 Filed 05/11/23 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

we xX
E. JEAN CARROLL, Civil Action No.:
22-cv-10016
Plaintiff,
— against — NOTICE OF APPEAL
DONALD J. TRUMP,
Defendant.
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Notice is hereby given that Defendant Donald J. Trump appeals to the United States Court
of Appeals for the Second Circuit from the judgment entered in this action on May 11, 2023 (Dkt.
No. 178) (“Final Judgment”) awarding Plaintiff compensatory and punitive damages totaling
$5,000,000.00, and from all adverse orders, rulings, decrees, decisions, opinions, memoranda,
conclusions, or findings preceding, leading to, merged in, or included within the Final Judgment, by

the Honorable United States District Judge Lewis A. Kaplan.
Case 1:22-cv-10016-LAK Document 179 Filed 05/11/23 Page 2 of 2

Dated: New York, New York
May 11, 2023

TO:

All counsel by ECF

TACOPINA, SEIGEL & DeOREO

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